                                                               CLEAK'SOFFItEU.S.DISTRICTCOURT
                                                                        AT ABINGDON,VA
                                                                              FILED .
                      IN THE UNITED STATESDISTRICT COVRT                      JUL - 1 2219
                          W ESTERN DISTRICT OF VIRGINIA                 JULI .D LEY,CLERK
                                 ABINGDON DIVISION
                                                                        8Y:
IJNITED su TksoFAMERI/A                                                          P Y CLERK

              V.                                       CA SE N O .1:19cr00016

INDIVIOR INC.(a/k/aReckittBenckiser
     PharmaceuticalsInc.)and
IN DIV IO R PLC


                                 O R D ER O N CO N SEN T
                                                                         ..            7
        Upon themotion ofthe defendantsand with the consentofthe United States,thisCourt's

sealing orderofJune 19,2019 (Dkt.73)ishereby moditied in accordancewith the termsset
forth in Defendants' M otion for Entry of Order on Consent. The proqeedings on the United

States'M otion forConflictofInterestInquiry shallotherwisebe and rem ain tmdersealuntilany

furtherM otion ofaparty,Responseby the adverseparty,and furtherOrderofthe Cotut
    .




ENTER: this28th day ofJtme,2019,


                                          By:     -
                                                  ' d States ' rictJudge




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